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7
                             IN THE UNITED STATES DISTRICT COURT
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                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,     )             CASE NO. 1:04-CR-5185 OWW
                                   )
11                     Plaintiff, )              ORDER TO CONTINUE SENTENCING HEARING
                                   )
           v.                      )
12                                 )             DATE: April 23, 2007
     DANIEL PEREZ,                 )             TIME: 9:00 a.m.
13                                 )             COURT: 3
                       Defendant. )
14   ______________________________)

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16          Good cause appearing, defendant Daniel Perez’s sentencing hearing,

17   currently set for April 23, 2007, is hereby continued to May 14, 2007 at 9:00

     a.m. in courtroom 3 and that time is excluded pursuant to the Speedy Trial
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     Act.
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     IT IS SO ORDERED.
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     Dated: April 19, 2007                     /s/ Oliver W. Wanger
22   emm0d6                               UNITED STATES DISTRICT JUDGE
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